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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 2 of 83 Page ID #:821
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 3 of 83 Page ID #:822
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 4 of 83 Page ID #:823
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 5 of 83 Page ID #:824
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 6 of 83 Page ID #:825
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 7 of 83 Page ID #:826
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 8 of 83 Page ID #:827
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 9 of 83 Page ID #:828
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 10 of 83 Page ID
                                  #:829
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 11 of 83 Page ID
                                  #:830
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 12 of 83 Page ID
                                  #:831
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 13 of 83 Page ID
                                  #:832
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 14 of 83 Page ID
                                  #:833
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 15 of 83 Page ID
                                  #:834
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 16 of 83 Page ID
                                  #:835
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 17 of 83 Page ID
                                  #:836
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 18 of 83 Page ID
                                  #:837
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 19 of 83 Page ID
                                  #:838
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 20 of 83 Page ID
                                  #:839
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 21 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 22 of 83 Page ID
                                  #:841
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 23 of 83 Page ID
                                  #:842
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 24 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 25 of 83 Page ID
                                  #:844
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 26 of 83 Page ID
                                  #:845
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 27 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 28 of 83 Page ID
                                  #:847
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 29 of 83 Page ID
                                  #:848
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 30 of 83 Page ID
                                  #:849
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 31 of 83 Page ID
                                  #:850
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 32 of 83 Page ID
                                  #:851
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 33 of 83 Page ID
                                  #:852
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 34 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 35 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 36 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 37 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 38 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 39 of 83 Page ID
                                  #:858
Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 40 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 41 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 42 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 43 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 44 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 45 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 46 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 47 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 48 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 49 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 50 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 51 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 52 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 53 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 54 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 55 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 56 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 57 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 58 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 59 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 60 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 61 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 62 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 63 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 64 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 65 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 66 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 67 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 68 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 69 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 70 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 71 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 72 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 73 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 74 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 75 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 76 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 77 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 78 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 79 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 80 of 83 Page ID
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Case 8:17-cv-01386-DOC-KES Document 25-1 Filed 10/30/17 Page 81 of 83 Page ID
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